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                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF KENTUCKY
                      CENTRAL DIVISION at LEXINGTON

UNITED STATES OF AMERICA,                 )
                                          )
       Plaintiff,                         )
                                          )               Criminal Case No.
v.                                        )                  12-cr-65-JMH
                                          )
ELI HOLLEY,                               )
                                          )
       Defendant.                         )        MEMORANDUM OPINION AND ORDER

                                          ***



       This matter is before the Court the Motion to Withdraw Plea

of Guilty [DE 480] filed by Defendant Eli Holley, pro se.                              The

Court has had the benefit of her motion, the response of the

United States, and Defendant Holley’s allocution at a hearing on

November 10, 2014.          At the conclusion of that hearing, the Court

announced that her motion would be denied.                            This Memorandum

Opinion and Order is intended to supplement that ruling and

memorialize the Court’s decision to deny her Motion.

       The    Court   has     carefully           considered     Defendant       Holley’s

arguments and has concluded that her Motion to Withdraw Plea of

Guilty   is    without     merit.     At          the   foundation    of   the   Court’s

decision is this:           Holley does not deny any of the facts set

forth as the basis for her guilty plea on December 4, 2013, or

even   deny    that   she    is   guilty          of    the   crime   charged     in   the

Indictment against her.           Rather she insists that she was unaware

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that entering a guilty plea would mean that she would have no

opportunity to present a defense.                                    She argues that she would

have a defense to the crime stemming from death threats received

from an individual she knew as Rob and which were sent via text

to her son and co-defendant as well as threatening or at least

hate-filled emails received from others.1                                       She states that “Rob”

threatened to kill her family members if they did not do as they

were told to do in committing the crime.

         The Court need not weigh in on the merits of such a defense

because Defendant Holley cannot be surprised by the fact that

she     will       be     unable         to     present         it     before        sentencing.                She

testified          under       oath       at     the     December          4,     2013,       rearraignment

hearing         that      she      had      discussed          the      charge        and      the      case      in

general with her counsel and that she understood that she was

waiving her right to trial, including the right to subpoena


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  She also insinuated that she was somehow “tricked” into entering a guilty plea because, even though she had long
expressed reservations about entering a guilty plea to counsel, she was arrested in Georgia and detained for violating
the conditions of her bond then required to appear before this Court in the period which eventually led up to her
rearraignment. She explained to the Court during her allocution at the November 10, 2014, hearing on her Motion
to Withdraw Plea of Guilty that she felt that she was arrested and detained on false pretenses because, while she was
accused of communicating with her son, Nicholas Corey Garner, in violation of the Court’s orders, the Court’s
orders expressly permitted that communication. She explained that, during her period of detention in advance of the
hearing on bond revocation before this Court, she was told – by someone she has not identified – that she should
persuade her son, co-Defendant Nicholas Corey Garner, to enter into a guilty plea at that time and that she was
arrested and he was brought to the courthouse solely for that purpose. The record does not support this account.
While it is true that Magistrate Judge Wier’s Order Setting Conditions of Release, entered on October 2, 2012,
required her to avoid all contact with any known government witness or co-defendant except for Garner [DE 79], a
later order of the Court forbade Nicholas Corey Garner from having contact with family members charged as co-
defendants in this case, including Eli Holley [DE 243]. While there may have been some question as to the
ramifications of such communications for Defendant Holley with respect to her bond, the fact of the matter was that
she was facilitating behavior forbidden a co-defendant in this matter and was before this Court for the reasons set
forth in the record. Ultimately, the Court does not view her arrest as suspect and considers this argument irrelevant
to her Motion to Withdraw Plea of Guilty.


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witnesses to testify in her defense and to testify voluntarily

and    in    her    own    defense        or    not    at   all,     as     she   preferred.

Following the Court’s clear explanation that a guilty plea would

mean the waiver of those rights, she acknowledged that she had

heard and understood the Court’s words.                              She also testified

under       oath   that     she     was    fully       satisfied      with     the   advice,

counsel,      and    representation            provided     by      her     court-appointed

attorney in the matter.

        Further, nearly eleven months passed from the time of her

guilty plea until she made her Motion on October 27, 2014.                                 In

that time, the presentence investigation report, albeit not the

final version of that report, has been circulated and provided

to Defendant Holley by counsel.                       Undoubtedly the length of the

proposed sentence contained in that document has prompted her

motion      despite       the   Court’s        admonition       at    the     time   of   her

rearraignment that, if the sentence ultimately ordered by the

Court was greater than she expected, she would be bound by her

plea and have no right to withdraw it.                       The Court will hold her

to that plea as any concern that she might have about the length

of    the    sentence      which     might      be    entered      cannot    serve   as   the

grounds for a withdrawal of her plea.

        Accordingly, IT IS ORDERED that Defendant Holley’s Motion

to Withdraw Plea of Guilty [DE 480] is DENIED.



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    This the 10th day of November, 2014.




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